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*** Case'3:17-Cv-03788 Document 16-3 Filed 09/21/17 Page 1 d's PAgelb #469

PrimeCare Medical, tnc./PrimeCare Medical of WV, inc.
dall/Prlson Consultation Review Form

» Date of Raquast 2017-09-08 11:60:57
Jatlont Name: Billups Michael
Patlent SSN;
Patient Number; ault61942
Patient DOB: a
Incarceration Date; 2017-03-04 00:00:00

Date of injury or Illness if known: 1900-01-01 00:00:00
Anticipated Release Date: 1900-04-01 00:00:00

Facility Name: Western Regional Jall
Patlant Type: | State/DOC

Sex: M

Pragnaney! No

Injury/liness Type

Data of Ineldant: 2047-07-40 60:00:00
Active Health Insurance: No
Works Comp/Work Related Injury: No
Veteran: No
Matar Veh!ele: No
Insurance Company:
Group#;
Polloyi:
\flasurance Pre-Auth required: No

. Pre-existing Condition: No
Authorization Type: Offles

Ordered Methed of Transporation: Facility Van

Visi Type: New
Reqested Provider/Spectalist Type; surgical evaluation
Anticipated DOS: Routine Seplember 2017

Physician's AssessmentiChief Complalnt:
Lipoma thoracic region posteriorly that ls Increasingly mora uncomfortable
Medical History:
no known medicat hx
Current Vital Signs; Wt 188lbs,
T OF
P 9s
R 18
BP 108/70

CorRMR Prablams:
Aleohal Withdrawal Heroin Withdrawal Berizo Withdrawal Opiate Withdrawal CARDIAC MEDICATION REVIEW
Current Meds/Treatments/Restrictlons:
Paxit - 20mg ~ 1 Tab {PO} By Mouth QHS - End: 2017-10-41 00:00:00
Allergies:
| PCN- no tylenol

°° ase 3:17 -tv-03788 Document16-3 Filed 09/21/17

Teal Results-Rays/EKG/Lab 1,
2
3

ProviderName; Alfred Baldera
Requestor Name: Susie Christian, LPN

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HSA Review Questions

Committed to Institution by: Cabell County
(ie state police, parole, sheriff)
Inmate Type: State\DOCITPY
Charges: 1st degree robbery, armed robbery
IFunsantenced, what is bail? na
lfsentenced, what Is mln release date? nel
From CorEMR, does inmate have Insurance? Yes

so, what? Medicaid

Has Insurance heen uilllzed? No
Commit Dato & Time? 3/97 0040
Relaase Date & Time?
Has hospitalization occurred from visit? No
ff You:

Name of Hospital:
WV - Hospitalized greater than 24 hrs.?

thy

Facilfly Level Decision
Facility Determination: AUTO APPROVAL

Notes:
Designee Signature: AUTOMATIC APPROVAL
Date: 2047-09-08 11:54:19

Corporate URC Use Only
Consult Determination; Pending
Notes: Please have provider assess this patiant and call me

Corporate Medical Director/Designes Electronic Signature; Jonnifer Mroz, PA-C, CCHP

Date: 2017-09-17 09:72:30

Authorization iD: 660804103
Return Date: 2017-09-18 08:40:33

Authorized Billing: Roberta Mottola

up. U7, 2VIE sYOrM : a ’ .
wan'ieGaser ity -cv-03788 Document 16-3 Filed 09/21/17 Page 3 of 4 Pade 44-71

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4
tee 4

Patient Note .

So Misael) Shawindstiidees

#* Author: Baldera, Alfred Highlight Note’: No.
. Af Rates 09-49-2017 1240

-” Access: This note |s for Medical Staff only
4s Note: Tasked to clarity heed forsurgical consultation, Rolated Problems .
___» Mass fale to ba fipomu 4em by 4 cn with diifuse borders ; non.tender and without evidence of Infection.” mUSCULARY SKELETAL (mae:
’ Innvatasdtétes ft has bacome more-yneomfortable ( if lying on side ) and would IIke-tho-tesion-removeds ,

* '}, Surgletl donault needed (6 ascartain the Iipbrie diagnosis anti fot ah opinion regarding emacgent or -
‘elective removal of came.

ok

he httpev//wy.pomcmaconMudulos/Chartinole_view, php ?nptagd=65 650208stiptBccancel:.N... of Lo/at

Corn Maccabi wba Shawaseilassat v0 Filed 09/21/17 TA padaRy ahh

Page 4 of 4 Pa

‘5 ¥ Sex: Mala Agonoy: Gounly Allergies:
Michael Shawn Bitlu ps iia 41} Location: Fi PCN: no tylenol
alght: Off Gln JMS IB; aulieio42

#82058
Tasks
Today (2)
Add New Tesk |[Show Ali Categories V]
Firel antlst ipdata Notes
I staff request
erform annual dental exam « Delete Appolntmant + Inmate was released 10-21-2046 [Syslem,
08-16-2047 CorEMR on 10-24-2016]
Created by: Bryant, LPN, Regina at 10-04-2018
14:29:47]
Last modified: System, CorEMR al 10-27-2076
16:01:02]
First lalla Provider [Medival) pdate Nolés

09-49-201 Tilpoma -once approved sohadula appointment 4200 and scheduled appeiniment for September
[Bryant, LPN, Regina on 05-18-2017]

-11-17 - 1268 » no approval al this tima

212617 - 1621 - no approval at this time

917 - 1650 - NO APPROVAL AT THIS TIME
14-17 ~ 1620 - io approval at this time

-16-17 1628 ~ no approval al this time

8-19-17 0932 = na approval at this Hine

19-17 1124 » ragelved call fram Or Baldere that he
poke with J Mroz and recelved a verbal approval for
utside appointment

Created by: Christian, LPN, Susip at 08-08-2017
1:55; 16]

Completed by: Bryant, LPN, Regina at 09-19-2017
2:48;32]

consult cofplatad at this time for surgical avaluation ||* Gomplated Appointment - Callad Marshall ‘oe al a

https:/Avv.pemomt:com/Modules/Chart/tasks.php?pid=1 61942 . . .

9419/2017

